Docusign Envelope ID: 8F5221B7-3248-4BB5-85B7-60B09FBEEDA8
                    Case 3:25-cv-04870-CRB              Document 77-3           Filed 06/16/25      Page 1 of 7



              1     ROB BONTA
                    Attorney General of California
              2     THOMAS S. PATTERSON
                    Senior Assistant Attorney General
              3     ANYA BINSACCA
                    JOHN D. ECHEVERRIA
              4     MARISSA MALOUFF
                    JAMES E. STANLEY
              5     Supervising Deputy Attorneys General
                    NICHOLAS ESPÍRITU
              6     STEVEN KERNS
                    JANE REILLEY
              7     MEGAN RICHARDS
                    MEGHAN H. STRONG
              8     Deputy Attorneys General
                     455 Golden Gate Avenue
              9      San Francisco, CA 94102
                     Telephone: (415) 510-3877
             10      E-mail: Meghan.Strong@doj.ca.gov
                    Attorneys for Plaintiffs
             11
             12                            IN THE UNITED STATES DISTRICT COURT
             13                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
             14
             15
             16
                    GAVIN NEWSOM, IN HIS OFFICIAL                              Case No: 3:25-cv-04870-CRB
             17     CAPACITY AS GOVERNOR OF THE
                    STATE OF CALIFORNIA; STATE OF
             18     CALIFORNIA,
             19                                              Plaintiffs,
                                                                               DECLARATION OF JOSEPH ZIZI
             20                      v.

             21
                    DONALD TRUMP, IN HIS OFFICIAL
             22     CAPACITY AS PRESIDENT OF THE
                    UNITED STATES; PETE HEGSETH, IN
             23     HIS OFFICIAL CAPACITY AS SECRETARY
                    OF THE DEPARTMENT OF DEFENSE;
             24     U.S. DEPARTMENT OF DEFENSE,
             25
                                                        Defendants.
             26
             27
                                                  DECLARATION OF JOSEPH ZIZI
             28
                                                                           1
                                                                                    Declaration of Joseph Zizi (3:25-cv-04870-CRB)
Docusign Envelope ID: 8F5221B7-3248-4BB5-85B7-60B09FBEEDA8
                    Case 3:25-cv-04870-CRB              Document 77-3   Filed 06/16/25      Page 2 of 7



              1            I, JOSEPH ZIZI, declare as follows:
              2
                             1. I am over the age of 18 years and a U.S. citizen. I know the following
              3
                    facts based on my own personal knowledge and on my review of information and
              4
                    records gathered by California Highway Patrol (CHP) staff in the ordinary course
              5
                    of business. If called as a witness, I could and would testify competently to the
              6
                    matters set forth below.
              7
                             2. I am employed by the CHP as a law enforcement officer. I graduated
              8
                    from the CHP Academy in August of 2000 and have been continuously employed
              9
                    since that time as a member of the CHP. I have been assigned to the CHP Southern
             10
                    Division for my entire career and have held the rank of officer, sergeant, lieutenant
             11
                    and captain. I currently hold the rank of Assistant Chief in the Southern Division of
             12
                    the CHP. As part of my duties, I have been trained in CHP’s Incident Command
             13
                    System (ICS).
             14
                             3. In my capacity as Assistant Chief, I am currently assigned as Commander
             15
                    of CHP’s representatives participating in the multi-agency Unified Command for
             16
                    the protests in Los Angeles (hereafter, the “Los Angeles Protest Incidents”). I have
             17
                    been assigned to this post since Sunday, June 8, 2025. My regular shift is 6:00 a.m.
             18
                    to 6:00 p.m., although based on circumstances my shifts are typically much longer
             19
                    and hours may vary. In this capacity I manage CHP liaison officers also assigned
             20
                    to the Unified Command, including a Special Response Team Captain, staff officers
             21
                    responsible for Command logistics, and a Public Information Officer. My duties
             22
                    also include the movement of people and resources, as well as ensuring adequate
             23
                    staffing, supplies, relief, back up, and protection of CHP officers assigned to the
             24
                    Los Angeles Protest Incidents.
             25
                             4. The Unified Command consists of five agencies including CHP, the Los
             26
                    Angeles Police Department (LAPD), the Los Angeles County Sheriff’s Department
             27
                    (LASD), the Los Angeles Fire Department (LAFD), and the Los Angeles County
             28
                                                                    2
                                                                            Declaration of Joseph Zizi (3:25-cv-04870-CRB)
Docusign Envelope ID: 8F5221B7-3248-4BB5-85B7-60B09FBEEDA8
                    Case 3:25-cv-04870-CRB              Document 77-3   Filed 06/16/25      Page 3 of 7



              1     Fire Department (LACFD). The Unified Command is housed at the Los Angeles
              2     Police Academy in the City of Los Angeles. Each agency designates its own
              3     representatives to the Unified Command. Incident Commanders designated from
              4     each agency are of similar rank and collaborate on management objectives, goals
              5     and operational plans.
              6              5. Since the protests in Los Angeles began on June 6, thousands of officers
              7     from LAPD, LASD, CHP and local law enforcement agencies from Los Angeles
              8     and neighboring counties have responded to the incidents. Each agency’s
              9     deployment has fluctuated over the course of the incident. Based on a report I have
             10     received, LAPD’s maximum deployment to date has been 3,316 officers deployed
             11     over a 24-hour period on June 14, and LASD’s maximum deployment to date was
             12     581 deputies deployed on the same day. Neighboring law enforcement agencies
             13     have also continued to provide additional support in response to requests made
             14     through California’s Law Enforcement Mutual Aid System, managed by the
             15     Governor’s Office of Emergency Services. As of 0709 on Sunday, June 15, there
             16     were 117 officers from neighboring agencies deployed to assist the Los Angeles
             17     Sheriff’s Department through the Mutual Aid System.
             18              6. Since the beginning of the protests, CHP officers have also played an
             19     important role in responding to the developing situation in Los Angeles, ensuring
             20     public safety by keeping protestors off major freeways, providing support for crowd
             21     control, and making arrests as necessary.
             22              7. CHP, as of June 15, had approximately 800 uniformed personnel
             23     assigned specifically to manage these protest incidents each day. This includes
             24     approximately 250 uniformed personnel working a day shift from 0600 to 1830
             25     each day, and a night shift of approximately 150 uniformed personnel working from
             26     1800 to 0630 each day, as well as approximately 400 personnel from Special
             27     Response Teams, described below, assigned each day. In addition to the
             28     approximately 800 personnel assigned specifically to manage these protest
                                                                    3
                                                                            Declaration of Joseph Zizi (3:25-cv-04870-CRB)
Docusign Envelope ID: 8F5221B7-3248-4BB5-85B7-60B09FBEEDA8
                    Case 3:25-cv-04870-CRB              Document 77-3   Filed 06/16/25      Page 4 of 7



              1     incidents, CHP has approximately 240 additional uniformed personnel working at
              2     stations in the area and on standby to respond to emergency situations as needed.
              3              8. From June 7 through June 14, 2025, CHP’s tactical alert expenditures in
              4     connection with the Los Angeles Protest Incidents (costs over and above normal
              5     operating expenses) are estimated to have totaled approximately $7 million, with
              6     the largest expenditures coming on June 9, 10, and 11. These cost figures are
              7     preliminary and subject to adjustment as CHP collects and reviews additional
              8     reports and information.
              9              9. The Special Response Teams assigned to Los Angeles were drawn from
             10     five different CHP Divisions around the state. The Special Response Teams are
             11     specially equipped and trained in crowd control techniques and have been
             12     responsible for CHP’s response to unlawful protest. In addition to the annual
             13     training on managing civil disturbances that all CHP officers receive, all Special
             14     Response Team members are required to complete an initial Commission on Peace
             15     Officer Standards and Training certified 24-hour course. Each Division’s Special
             16     Response Team also completes quarterly training on relevant topics. Further,
             17     Special Response Team members annually complete an additional 12-hour
             18     recertification course, which includes practical scenarios based on current events.
             19     Additionally, the Special Response Teams have Logistics Units that are responsible
             20     for booking arrestees, furnishing necessary supplies, and transport of arrestees.
             21     During the Los Angeles Protest Incidents, these Special Response Teams have been
             22     used as a rapid reaction force mobilizing quickly to hot spots as needed.
             23              10. In addition to these Special Response Teams, CHP has deployed
             24     numerous other specialized units to Los Angeles to help manage these incidents.
             25     These include commercial enforcement units providing logistics and supplies;
             26     canine units; air operations units, including airplanes and helicopters, that monitor
             27     and track crowd movements, and have the capability to track particular vehicles
             28     believed to have been involved in criminal activity; mounted units on horseback
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                                                                            Declaration of Joseph Zizi (3:25-cv-04870-CRB)
Docusign Envelope ID: 8F5221B7-3248-4BB5-85B7-60B09FBEEDA8
                    Case 3:25-cv-04870-CRB              Document 77-3   Filed 06/16/25      Page 5 of 7



              1     specially trained in crowd control techniques; and a detective unit that specializes in
              2     the investigation of felonious criminal activity, including identification and
              3     investigation of individuals who assault law enforcement officers.
              4              11. Finally, CHP uniformed officers also provide security and traffic control
              5     on major freeways in the area, including US-101 and on/offramps. In particular,
              6     they are focused on preventing freeway incursions by protestors and other
              7     pedestrians. CHP also maintains a Mobile Field Force ready to respond to incidents
              8     on freeways in and around Los Angeles.
              9              12. Over the course of these protests and related incidents, state and local law
             10     enforcement agencies have arrested numerous individuals. LAPD made 29 arrests
             11     on Saturday, June 7. The number of arrests made increased following deployment
             12     of the National Guard on June 8. In Los Angeles, between LAPD, LASD, and
             13     CHP, there were 43 arrests on Sunday, June 8; 135 arrests on Monday, June 9; 295
             14     arrests on Tuesday, June 10; 85 arrests on Wednesday, June 11; 52 arrests on
             15     Thursday, June 12; 35 arrests on Friday, June 13; 56 arrests on Saturday, June 14;
             16     and 2 arrests on Sunday, June 15. These numbers are preliminary and may change
             17     as more data is collected and reviewed. Although there have been some arrests for
             18     acts of violence and property destruction, based on information and belief the
             19     majority of the arrests made to date have been for failure to disperse after law
             20     enforcement declare an unlawful assembly.
             21              13. Since June 8, violent incidents at federal facilities have been concentrated
             22     in the immediate vicinity of the Edward R. Roybal Federal Building and U.S.
             23     Courthouse in downtown Los Angeles, as well as the federal building in Santa Ana
             24     and facility in Paramount. Other than incidents at those locations, I have not
             25     received reports of violence at other federal facilities in and around Los Angeles,
             26     including those in Westwood and Long Beach.
             27              14. Law enforcement officers experienced significant violent assaults on the
             28     weekend of June 7 and 8. On these days, law enforcement officers in downtown
                                                                    5
                                                                            Declaration of Joseph Zizi (3:25-cv-04870-CRB)
Docusign Envelope ID: 8F5221B7-3248-4BB5-85B7-60B09FBEEDA8
                    Case 3:25-cv-04870-CRB              Document 77-3    Filed 06/16/25      Page 6 of 7



              1     Los Angeles, Paramount, and Compton were the target of assaults, including from
              2     thrown projectiles such as rocks, bottles, fireworks, and other objects. At least one
              3     incident involved a Molotov Cocktail thrown at officers. These incidents led to
              4     some state and local law enforcement officers sustaining injuries, mostly minor.
              5              15. As a result of these incidents, state and local law enforcement agencies
              6     significantly increased their presence at the Los Angeles Protest Incidents in the
              7     following days. CHP deployed the Special Response Teams described above and
              8     other law enforcement agencies also increased staffing. California’s Law
              9     Enforcement Mutual Aid System was also utilized to obtain support from
             10     neighboring law enforcement agencies. Maximum law enforcement deployments
             11     were on Saturday, June 14, in anticipation of large protests planned for that day.
             12     Although there were significant violent incidents on the evening of June 14, state
             13     and local law enforcement agencies were able to respond to those events with the
             14     increased staffing available.
             15              16. Civil unrest in Los Angeles County is typically managed effectively by
             16     state and local law enforcement without the intervention of the National Guard or
             17     active-duty Marines. CHP and our allied local law enforcement agencies continue
             18     to monitor the evolving situation and are taking steps to prepare for any future civil
             19     unrest.
             20
             21            I declare under penalty of perjury under the laws of the United States that the
             22     foregoing is true and correct.
             23            Executed on June 16, 2025, at Los Angeles, California.
             24
             25
             26
             27                                                         Joseph Zizi
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                                                                    6
                                                                             Declaration of Joseph Zizi (3:25-cv-04870-CRB)
Docusign Envelope ID: 8F5221B7-3248-4BB5-85B7-60B09FBEEDA8
                    Case 3:25-cv-04870-CRB              Document 77-3   Filed 06/16/25      Page 7 of 7



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                                                                            Declaration of Joseph Zizi (3:25-cv-04870-CRB)
